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15
                        UNITED STATES DISTRICT COURT
16                     CENTRAL DISTRICT OF CALIFORNIA
17
      MICHAEL BROWN                           Case No.: 2:20-cv-04401-MWF-JC
18
                      Plaintiff
19                                            JOINT 26(F) REPORT
           v.
20                                            (F.R.C.P. 23 AND L.R. 23-3)
      WELLS FARGO BANK, NA, et al.
21                                            Date:      July 13, 2020
                      Defendant               Time:      11:00 A.M.
22                                            Courtroom: 5A
                                              Judge: Hon. Michael W. Fitzgerald
23
           Pursuant to Rule 26(f) and the Court’s Order Setting Scheduling Conference,
24

25   Plaintiff Michael Brown (“Plaintiff”) and Defendant Wells Fargo Bank, N.A.
26
     (“Defendant”), hereby submit their Joint Rule 26(f) Conference Report after having
27
                                        26(F) REPORT
28                                            -1-
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 1
     met and conferred on the issues contemplated in Rule 26(f) and the Court’s Order.

 2         a.     Statement of the Case
 3
           Plaintiff: Plaintiff alleges in January 2020, Defendant Wells Fargo Bank, N.A.
 4

 5   (“Wells Fargo”) began a barrage of harassing phone calls in an attempt to collect an

 6   alleged outstanding debt belonging to Plaintiff Michael Brown (“Plaintiff”).
 7
     Defendant repeatedly called Plaintiff’s phone, ending in -8493, despite Plaintiff
 8

 9   orally revoking any existing consent. Despite Plaintiff’s revocation, the calls

10   continued in a manner Plaintiff characterizes as harassing. Plaintiff is informed and
11
     believes Defendant used an “automatic telephone dialing system” or “ATDS”.
12

13         Defendant’s alleged conduct violated the Rosenthal Fair Debt Collection

14   Practices Act, Cal. Civ. Code § 1788, et seq. (“RFDCPA”), the federal Fair Debt
15
     Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the Telephone
16

17   Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).
18         Defendant: Plaintiff is a customer of Wells Fargo and provided the telephone
19
     number at issue to Wells Fargo in order to contact him about his Wells Fargo
20

21   accounts. Wells Fargo called Plaintiff to discuss Plaintiff’s account balances. Wells
22   Fargo contends that the calls it allegedly made to Plaintiff’s cellular telephone
23
     number were made with Plaintiff’s consent, and therefore did not violate the TCPA.
24

25   Moreover, Wells Fargo also denies that Plaintiff effectively revoked his consent for
26   Wells Fargo to call the telephone number at issue through reasonable means.
27
                                          26(F) REPORT
28                                              -2-
     Case 2:20-cv-04401-MWF-JC Document 7 Filed 06/29/20 Page 3 of 12 Page ID #:63




 1
     However, even if the calls were not made with consent, Wells Fargo maintains that

 2   the calls would not have violated the TCPA because they were not made with
 3
     equipment that qualifies as an automatic telephone dialing system within the
 4

 5   meaning of the TCPA, 47 U.S.C. § 227(a)(1). Further, Wells Fargo maintains that

 6   the calls were not harassing and not in violation of the FDCPA or the RFDCPA.
 7
             b.    Subject Matter Jurisdiction
 8

 9           The Court has original jurisdiction under 28 U.S.C. § 1331 because it

10   involves a federal question arising under the federal Fair Debt Collection Practices
11
     Act, 15 U.S.C. § 1692, et seq. and the Telephone Consumer Protection Act, 47
12

13   U.S.C. § 227, et seq. The Parties do not foresee any jurisdictional challenges at this

14   time.
15
             c.    Legal Issues
16

17           Plaintiff: Plaintiff alleges that Defendant violated the FDCPA by placing
18   repeated calls causing annoyance and harassment to Plaintiff (15 U.S.C. §1692d;
19
     Cal. Civ. C. § 1788.11(d), (e)). Plaintiff further alleges Defendant’s actions violated
20

21   the RFDCPA which incorporates these provisions of the FDCPA (Cal. Civ. Code
22   §1788.17). Moreover, Defendant’s conduct also violated the TCPA by using an
23
     automatic telephone dialer system to call Plaintiff on his cellular telephone number
24

25   after revocation of any prior-existing consent (47 U.S.C. §227(b)(A)(iii)).
26           Defendant: Wells Fargo contends that the legal issue is that it did not place
27
                                           26(F) REPORT
28                                               -3-
     Case 2:20-cv-04401-MWF-JC Document 7 Filed 06/29/20 Page 4 of 12 Page ID #:64




 1
     repeated, annoying or harassing telephone calls to Plaintiff under the FDCPA, 15

 2   U.S.C. §1692d, or the RFDCPA, Cal. Civ. C. § 1788.11(d), (e) and Cal. Civ. Code
 3
     §1788.17. Regarding the TCPA, Defendant contends that the legal issues are (1)
 4

 5   that Wells Fargo had Plaintiff’s prior express consent to contact him at the telephone

 6   number at issue; (2) whether any attempted request by Plaintiff for calls to stop was
 7
     communicated in a manner than constituted effective revocation as to the telephone
 8

 9   number at issue; (3) whether any attempted request by Plaintiff for calls to stop was

10   communicated in a manner than constituted effective revocation as to all of
11
     Plaintiff’s accounts with Wells Fargo; (4) whether Wells Fargo used an “automatic
12

13   telephone dialing system” as the term is defined in 47 U.S.C. § 227(a)(1); and (5)

14   whether Plaintiff has been damaged.
15
           d.     Parties, Evidence, etc.:
16

17         Plaintiff:   Plaintiff identifies himself and Defendant’s Person Most
18   Knowledgeable regarding Defendant’s practices of placing collection calls to
19
     alleged debtors, as well as Defendant’s policies and procedures regarding
20

21   compliance with the FDCPA, RFDCPA, and TCPA. Key documents include:
22   documentation regarding the Defendant’s policies and practices for placing
23
     telephone calls to alleged debtors; documentation regarding Defendant’s policies
24

25   and practices for processing the revocation of consent made by debtors on those
26   calls; and, documentation regarding Defendant’s compliance with the FDCPA,
27
                                          26(F) REPORT
28                                              -4-
     Case 2:20-cv-04401-MWF-JC Document 7 Filed 06/29/20 Page 5 of 12 Page ID #:65




 1
     RFDCPA, and TCPA.

 2         Defendant: As required by the Court’s Order Setting Scheduling Conference,
 3
     for conflict purposes, Defendant identifies the Plaintiff, Wells Fargo Bank, N.A.
 4

 5   and its parent company, Wells Fargo & Company. With respect to witnesses,

 6   Defendant identifies its Rule 30(b)(6) person most knowledgeable regarding
 7
     Plaintiff’s accounts with Wells Fargo, its Rule 30(b)(6) person most knowledgeable
 8

 9   about the telephone calls to Plaintiff as well as the telephone system(s) Wells Fargo

10   used to call Plaintiff, and Plaintiff. With respect to documents, Defendant identifies
11
     Plaintiff’s account applications, account agreements, account statements, account
12

13   notes, Defendant’s call logs and Plaintiff’s telephone records.

14         e.     Damages
15
           Pursuant to Cal. Civ. Code §1788.30, Plaintiff seeks up to $1,000 in statutory
16

17   damages, for Defendant’s alleged violation of the RFDCPA. Cal. Civ. C. §
18   1788.30(b). Pursuant to 15 U.S.C. § 1692k, Plaintiff seeks up to $1,000 for the
19
     alleged violation of the federal FDCPA. Pursuant to the TCPA, Plaintiff seeks
20

21   $500.00 in statutory damages, for each and every alleged negligent violation,
22   pursuant to 47 U.S.C. § 227(b)(3)(B), and $1,500.00 in statutory damages, for each
23
     and every willful violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
24

25

26

27
                                          26(F) REPORT
28                                              -5-
     Case 2:20-cv-04401-MWF-JC Document 7 Filed 06/29/20 Page 6 of 12 Page ID #:66




 1
           f.     Insurance

 2         The Parties are not aware of any relevant insurance.
 3
           g.     Motions
 4

 5         The Parties do not anticipate any motions to add claims or parties, amend the

 6   pleadings or transfer venue, but reserve the right to do so should discovery so
 7
     require. The Parties anticipate possible dispositive motions at the conclusion of
 8

 9   Discovery.

10         h.     Manual for Complex Litigation
11
          This matter is not complex.
12

13         i.     Status of Discovery

14         Defendant and Plaintiff have not yet initiated Discovery but have met and
15
     conferred about the information and documentation that each party possesses, and
16

17   the information and documentation it will request the other side to produce in this
18   matter. The Parties have agreed to exchange Initial Disclosures no later than
19
     Monday, August 3, 2020.
20

21         j.     Discovery Plan
22         The parties do not believe that discovery should be conducted in phases or
23
     limited except as provided by the Federal Rules of Civil Procedure.
24

25         Plaintiff: Plaintiff’s written discovery will consist of interrogatories, requests
26   for production, and requests for admissions. Plaintiff needs discovery on the
27
                                          26(F) REPORT
28                                              -6-
     Case 2:20-cv-04401-MWF-JC Document 7 Filed 06/29/20 Page 7 of 12 Page ID #:67




 1
     following subjects: Defendant’s policies and practices for placing telephone calls

 2   to alleged debtors; documentation regarding Defendant’s policies and practices for
 3
     processing the revocation of consent made by debtors on those calls; and,
 4

 5   documentation regarding Defendant’s compliance with the FDCPA, RFDCPA, and

 6   TCPA. Plaintiff also intends to depose the Defendant’s PMK.
 7
            Defendant: Defendant’s written discovery will consist of interrogatories,
 8

 9   requests for production, and requests for admissions as well as a subpoena for

10   Plaintiff’s telephone records. Defendant needs discovery on the alleged manner of
11
     revocation of consent to be called as well as the alleged harassing nature of the
12

13   telephone calls from Wells Fargo to Plaintiff. Wells Fargo intends to depose

14   Plaintiff.
15
            k.    Discovery Cut-off
16

17          The parties propose a non-expert discovery cut-off date of April 13, 2021.
18          l.    Expert Discovery
19
            The parties propose March 23, 2021 as the initial expert disclosure deadline,
20

21   April 6, 2021 as the rebuttal expert disclosure deadline, and May 11, 2021 as the
22   expert discovery cut-off date.
23
            m.    Dispositive Motions
24

25          At this time, Plaintiff does not anticipate filing any dispositive motions but
26   reserves the right to do so if discovery reveals the basis for such a motion.
27
                                          26(F) REPORT
28                                              -7-
     Case 2:20-cv-04401-MWF-JC Document 7 Filed 06/29/20 Page 8 of 12 Page ID #:68




 1
     Defendant anticipates filing a dispositive motion prior to the Motion Hearing

 2   Deadline as set herein.
 3
            n.     Settlement/Alternative Dispute Resolution
 4

 5        Parties are engaged in early discussions of the facts in the case. The parties are

 6   further amenable to a Court Panel and/or Magistrate Judge for the purposes of
 7
     resolution.
 8

 9          o.     Trial Estimate

10          Plaintiff anticipates a trial of 3 days. Defendant anticipates a trial of 1-2 days.
11
     Plaintiff requests a jury trial.
12

13          p.     Trial Counsel

14          Plaintiff will be represented by Todd M. Friedman at trial. Defendant will be
15
     represented by Artin Betpera at trial.
16

17          q.     Independent Expert or Master
18          The parties do not anticipate the need for appointment of an independent
19
     expert or master in this matter.
20

21          r.     Timetable
22          The requested Schedule of Pretrial and Trial Dates has been attached at the
23
     end of the report as Exhibit A.
24

25          s.     Other Issues
26          The parties do not foresee any abnormal issues at this time.
27
                                            26(F) REPORT
28                                                -8-
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                              JUDGE MICHAEL W. FITZGERALD
 1                   SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
 2   CASE NAME: MICHAEL BROWN V WELLS FARGO BANK, NA
 3   CASE NO: 2:20-cv-04401-MWF-JC

 4                                Matter                                    Plaintiff(s)   Defendant(s)   Court
                                                                              Request         Request     Order
 5   [X] Jury Trial or [ ] Court Trial
      (Tuesday at 8:30 a.m.)         Duration Estimate: Plaintiff           08/17/2021     08/17/2021
 6    anticipates 3 days. Defendant anticipates 1-2 days.
     Final Pretrial Conference [L.R. 16] and Hearing on Motions
 7   in limine
     (Monday at 11:00 a.m. – three (3) weeks before trial date)
 8                                                                          07/27/2021     07/27/2021
     Motions In Limine must be filed three (3) weeks before this date;
 9   Oppositions are due two (2) weeks before this date, no reply
     briefs
10                                                            Weeks         Plaintiff(s)   Defendant(s)   Court
                              Event                           Before
11                                                                           Request         Request      Order
                                                               Trial
12   Last Date to Hear Motion to Amend Pleadings /
                                                                            10/16/2020     10/16/2020
     Add Parties
13   Non-Expert Discovery Cut-Off (at least 4 weeks
     Before last date to hear motions)                          18           4/13/2021      4/13/2021
14   Expert Disclosure (Initial)                                             3/23/2021      3/23/2021
     Expert Disclosure (Rebuttal)                                             4/6/2021       4/6/2021
15   Expert Discovery Cut-off                                    14*         5/11/2021      5/11/2021
16   Last day to Hear motions (Monday at 10:00 a.m.)
                                                                 14          5/11/2021      5/11/2021
17   Last Date to Conduct Settlement Conference                  12          5/25/2021      5/25/2021
     For Jury Trial
18        File Memorandum of Contentions of Fact and
             Law, L.R. 16-4
19                                                                  6       07/06/2021     07/06/2021
          File Exhibit and Witness Lists, L.R. 16-5.6
20        File Status Report Regarding Settlement
          File Motions In Limine
21   For Jury Trial
          Lodge Pretrial Conference Order, L.R. 16-7
22        File Agreed Set of Jury Instructions and
             Verdict Forms                                          5        7/13/2021      7/13/2021
23        File Statement Regarding Disputed
             Instructions, Verdicts, etc.
24        File Oppositions to Motions In Limine
25                                            ADR [LR 16-15] Selection:
26    X Attorney Settlement Officer Panel    Private Mediation          X Magistrate Judge (with Court Approval)
27
                                                   26F REPORT
28                                                     -9-
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 1
      Dated: June 29th, 2020              Respectfully submitted,

 2                                  LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3
                                                     By:/s/Todd M. Friedman
 4                                                   Todd M. Friedman, Esq.
 5                                                   Attorney for Plaintiff

 6

 7
                                                     By: /s/ Nadia D. Adams
 8                                                   Nadia Adams, Esq.
                                                     Attorney for Defendant
 9

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27
                                       26F REPORT
28                                         -10-
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 1                             SIGNATURE CERTIFICATION
 2
            Pursuant to Section 2(f)(4) of the Electronic Filing Administrative Policies
 3

 4    and Procedures Manual, I hereby certify that the content of this document is
 5
      acceptable to counsel for Defendant, and that I have obtained her authorization to
 6
      affix her electronic signature to this document.
 7

 8

 9    Dated: June 29th, 2020                 Respectfully submitted,
10
                                              Law Offices of Todd M. Friedman, P.C.
11
                                               By: s/ Todd M. Friedman
12
                                                 Todd M. Friedman, Esq.
13                                               Attorney for Plaintiff
14

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27
                                           26F REPORT
28                                             -11-
     Case 2:20-cv-04401-MWF-JC Document 7 Filed 06/29/20 Page 12 of 12 Page ID #:72



 1                              CERTIFICATE OF SERVICE
 2

 3     Filed electronically on this 29th Day of June, 2020, with:
 4
       United States District Court CM/ECF system
 5

 6     Notification sent electronically via the Court’s ECF system to:

 7     Honorable Judge Michael W. Fitzgerald
 8     United States District Court
       Central District of California
 9

10     And all Counsel of Record as Recorded on the Electronic Service List.

11
       This 29th Day of June, 2020
12

13     s/Todd M. Friedman, Esq.
       Todd M. Friedman
14

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                                            26F REPORT
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